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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ANNA K. NUPSON                                     :              CIVIL ACTION
              Plaintiff                                :
                                                       :              NO. 18-2505
                 v.                                    :
                                                       :
    SCHNADER HARRISON SEGAL &                          :
    LEWIS LLP, et al.                                  :
               Defendants                              :

                                                 ORDER
         AND NOW, this 6th day of September 2022, upon consideration of Defendants’ motion to

strike Plaintiff’s motion for sanctions, [ECF 259], and Plaintiff’s response in opposition thereto,

[ECF 263], it is hereby ORDERED that the motion to strike is DENIED. 1 Accordingly, consistent

with the Order of February 22, 2022, [ECF 262], Defendants shall file a response to Plaintiff’s

motion for sanctions, [ECF 254], by September 20, 2022.



                                         BY THE COURT:

                                         /s/ Nitza I. Quiñones Alejandro
                                         NITZA I. QUIÑONES ALEJANDRO
                                         Judge, United States District Court




1
        In the instant motion, Defendants argue that Plaintiff’s previously-filed motion for sanctions, [ECF
254], was filed in violation of Federal Rule of Civil Procedure 26(b)(5)(B) and the parties’ stipulated
protective order. In support, Defendants contend that Plaintiff failed to satisfy various meet-and-confer
requirements and inappropriately made public inadvertently disclosed documents. Defendants’ contentions
are misplaced. Plaintiff filed the inadvertently disclosed documents under seal and engaged in an adequate
meet-and-confer process before filing its motion for sanctions. As such, Defendants’ motion is denied.
